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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       *
                                               *        CRIMINAL NO. 17-201 (ABJ)(S-3)
       v.                                      *
                                               *        (18 U.S.C. §§ 2, 371, 981(a)(1)(C), 982,
PAUL J. MANAFORT, JR.,                         *        1001(a), 1956(h), and 3551 et seq.; 22
                                               *        U.S.C. §§ 612, 618(a)(1), and 618(a)(2);
               Defendant.                      *        28 U.S.C. § 2461(c))
                                               *
                                               *
                                            *******

                               SUPERSEDING INDICTMENT

The Grand Jury for the District of Columbia charges:

                                          Introduction

At all times relevant to this Superseding Indictment:

1.    Defendant PAUL J. MANAFORT, JR. (MANAFORT) served for years as a political

consultant and lobbyist. Between at least 2006 and 2015, MANAFORT, through companies he

ran, acted as an unregistered agent of a foreign government and foreign political parties.

Specifically, he represented the Government of Ukraine, the President of Ukraine (Victor

Yanukovych, who was President from 2010 to 2014), the Party of Regions (a Ukrainian political

party led by Yanukovych), and the Opposition Bloc (a successor to the Party of Regions after

Yanukovych fled to Russia in 2014).

2.    MANAFORT generated tens of millions of dollars in income as a result of his Ukraine

work. From approximately 2006 through 2017, MANAFORT, along with others including

Richard W. Gates III (Gates), engaged in a scheme to hide the Ukraine income from United States

authorities, while enjoying the use of the money. From approximately 2006 to 2015, when
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MANAFORT was generating tens of millions of dollars in income from his Ukraine activities,

MANAFORT, with the assistance of Gates, avoided paying taxes by disguising tens of millions of

dollars in income as alleged “loans” from nominee offshore corporate entities and by making

millions of dollars in unreported payments from foreign accounts to bank accounts they controlled

and United States vendors. MANAFORT also used the offshore accounts to purchase real estate

in the United States, and MANAFORT used the undisclosed income to make improvements to and

refinance his United States properties.

3.    In furtherance of the scheme, MANAFORT, with the assistance of Gates, funneled millions

of dollars in payments into numerous foreign nominee companies and bank accounts, opened by

them and their accomplices in nominee names and in various foreign countries, including Cyprus,

Saint Vincent & the Grenadines (Grenadines), and the Seychelles. MANAFORT concealed the

existence and ownership of the foreign companies and bank accounts, falsely and repeatedly

reporting to his tax preparers and to the United States that he had no foreign bank accounts.

4.    In furtherance of the scheme, MANAFORT, with the assistance of Gates, concealed from

the United States his work as an agent of, and millions of dollars in payments from, Ukraine and

its political parties and leaders. Because MANAFORT, among other things, participated in a

campaign to lobby United States officials on behalf of the Government of Ukraine, the President

of Ukraine, and the Party of Regions, he was required by law to report to the United States his

work and fees. MANAFORT did not do so. Instead, when the Department of Justice sent inquiries

to MANAFORT and Gates in 2016 about their activities, MANAFORT and Gates responded with

a series of false and misleading statements.

5.    In furtherance of the scheme, MANAFORT used his hidden overseas wealth to enjoy a

lavish lifestyle in the United States, without paying taxes on that income. MANAFORT, without

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reporting the income to his tax preparer or the United States, spent millions of dollars on luxury

goods and services for himself and his extended family through payments wired from offshore

nominee accounts to United States vendors. MANAFORT also used these offshore accounts to

purchase multi-million dollar properties in the United States and to improve substantially another

property owned by his family.

6.    In total, more than $75,000,000 flowed through these offshore accounts. MANAFORT,

with the assistance of Gates, laundered more than $30,000,000, income that he concealed from the

United States Department of the Treasury (Treasury), the Department of Justice, and others.

                                Relevant Individuals And Entities

7.    MANAFORT was a United States citizen. He resided in homes in Virginia, Florida, and

Long Island, New York.

8.    In 2005, MANAFORT and another partner created Davis Manafort Partners, Inc. (DMP) to

engage principally in political consulting. DMP had staff in the United States, Ukraine, and

Russia. In 2011, MANAFORT created DMP International, LLC (DMI) to engage in work for

foreign clients, in particular political consulting, lobbying, and public relations for the Government

of Ukraine, the Party of Regions, and members of the Party of Regions. DMI was a partnership

solely owned by MANAFORT and his spouse. Gates worked for both DMP and DMI and served

as MANAFORT’s right-hand man.

9.    The Party of Regions was a pro-Russia political party in Ukraine.                Beginning in

approximately 2006, it retained MANAFORT, through DMP and then DMI, to advance its

interests in Ukraine, the United States, and elsewhere, including the election of its Ukrainian slate

of candidates. In 2010, its candidate for President, Yanukovych, was elected President of Ukraine.

In 2014, Yanukovych fled Ukraine for Russia in the wake of popular protests of widespread

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governmental corruption. Yanukovych, the Party of Regions, and the Government of Ukraine

were MANAFORT, DMP, and DMI clients.

10.   The European Centre for a Modern Ukraine (the Centre) was created in or about 2012 in

Belgium as a mouthpiece for Yanukovych and the Party of Regions. It reported to the Ukraine

First Vice Prime Minister. The Centre was used by MANAFORT, Gates, and others in order to

lobby and conduct a public relations campaign in the United States and Europe on behalf of the

existing Ukraine regime.     The Centre effectively ceased to operate upon the downfall of

Yanukovych in 2014.

11.   MANAFORT, with the assistance of Gates, owned or controlled the following entities,

which were used in the scheme (the MANAFORT entities):

                                      Domestic Entities

 Entity Name                             Date Created           Incorporation Location

                                         August 2008            Virginia
 Daisy Manafort, LLC (PM)
                                         March 2011             Florida

 Davis Manafort International LLC
                                         March 2007             Delaware
 (PM)

                                         March 2005             Virginia
 DMP (PM)
                                         March 2011             Florida

                                         October 1999           Delaware
 Davis Manafort, Inc. (PM)
                                         November 1999          Virginia

                                         June 2011              Delaware
 DMI (PM)
                                         March 2012             Florida

 Global Sites LLC (PM, RG)               July 2008              Delaware

 Jesand Investment Corporation (PM)      April 2002             Virginia

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Entity Name                             Date Created     Incorporation Location

Jesand Investments Corporation (PM)     March 2011       Florida

                                        April 2006       Virginia
John Hannah, LLC (PM)
                                        March 2011       Florida

Lilred, LLC (PM)                        December 2011    Florida

LOAV Ltd. (PM)                          April 1992       Delaware

MC Brooklyn Holdings, LLC (PM)          November 2012    New York

                                        January 2012     Florida
MC Soho Holdings, LLC (PM)
                                        April 2012       New York

Smythson LLC (also known as
                                        July 2008        Delaware
Symthson LLC) (PM, RG)



                                      Cypriot Entities


Entity Name                             Date Created     Incorporation Location

Actinet Trading Limited (PM, RG)        May 2009         Cyprus

Black Sea View Limited (PM, RG)         August 2007      Cyprus

Bletilla Ventures Limited (PM, RG)      October 2010     Cyprus

Global Highway Limited (PM, RG)         August 2007      Cyprus

Leviathan Advisors Limited (PM, RG) August 2007          Cyprus

LOAV Advisors Limited (PM, RG)          August 2007      Cyprus

Lucicle Consultants Limited (PM, RG) December 2008       Cyprus

Marziola Holdings Limited (PM)          March 2012       Cyprus

Olivenia Trading Limited (PM, RG)       March 2012       Cyprus


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  Entity Name                              Date Created            Incorporation Location

  Peranova Holdings Limited (Peranova)
                                       June 2007                   Cyprus
  (PM, RG)

  Serangon Holdings Limited (PM, RG)       January 2008            Cyprus

  Yiakora Ventures Limited (PM)            February 2008           Cyprus


                                     Other Foreign Entities


  Entity Name                              Date Created            Incorporation Location

  Global Endeavour Inc. (also known as
                                           Unknown                 Grenadines
  Global Endeavor Inc.) (PM)

  Jeunet Ltd. (PM)                         August 2011             Grenadines

  Pompolo Limited (PM, RG)                 April 2013              United Kingdom


12.   The Internal Revenue Service (IRS) was a bureau in the Treasury responsible for

administering the tax laws of the United States and collecting taxes owed to the Treasury.

                                          The Scheme

13.   Between in or around 2006 and 2017, both dates being approximate and inclusive, in the

District of Columbia and elsewhere, MANAFORT and others devised and intended to devise, and

executed and attempted to execute, a scheme and artifice to defraud, and to obtain money and

property by means of false and fraudulent pretenses, representations, and promises from the United

States and others. As part of the scheme, MANAFORT repeatedly provided and caused to be

provided false information to financial bookkeepers, tax accountants, and legal counsel, among

others.



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MANAFORT’s Wiring Money From Offshore Accounts Into The United States

14.     In order to use the money in the offshore nominee accounts of the MANAFORT entities

without paying taxes on it, MANAFORT caused millions of dollars in wire transfers from these

accounts to be made for goods, services, and real estate. He did not report these transfers as

income.

15.     From 2008 to 2014, MANAFORT caused the following wires, totaling over $12,000,000,

to be sent to the vendors listed below for personal items. MANAFORT did not pay taxes on this

income, which was used to make the purchases.


                    Transaction       Originating Account        Country of     Amount of
Payee
                       Date                  Holder             Origination     Transaction
Vendor A              6/10/2008    LOAV Advisors Limited        Cyprus             $107,000
(Home                 6/25/2008    LOAV Advisors Limited        Cyprus              $23,500
Improvement            7/7/2008    LOAV Advisors Limited        Cyprus              $20,000
Company in the         8/5/2008    Yiakora Ventures Limited     Cyprus              $59,000
Hamptons, New          9/2/2008    Yiakora Ventures Limited     Cyprus             $272,000
York)                 10/6/2008    Yiakora Ventures Limited     Cyprus             $109,000
                     10/24/2008    Yiakora Ventures Limited     Cyprus             $107,800
                     11/20/2008    Yiakora Ventures Limited     Cyprus              $77,400
                     12/22/2008    Yiakora Ventures Limited     Cyprus             $100,000
                      1/14/2009    Yiakora Ventures Limited     Cyprus               $9,250
                      1/29/2009    Yiakora Ventures Limited     Cyprus              $97,670
                      2/25/2009    Yiakora Ventures Limited     Cyprus             $108,100
                      4/16/2009    Yiakora Ventures Limited     Cyprus              $94,394
                       5/7/2009    Yiakora Ventures Limited     Cyprus              $54,000
                      5/12/2009    Yiakora Ventures Limited     Cyprus               $9,550
                       6/1/2009    Yiakora Ventures Limited     Cyprus              $86,650
                      6/18/2009    Yiakora Ventures Limited     Cyprus              $34,400
                      7/31/2009    Yiakora Ventures Limited     Cyprus             $106,000
                      8/28/2009    Yiakora Ventures Limited     Cyprus              $37,000
                      9/23/2009    Yiakora Ventures Limited     Cyprus             $203,500
                     10/26/2009    Yiakora Ventures Limited     Cyprus              $38,800
                     11/18/2009    Global Highway Limited       Cyprus             $130,906
                       3/8/2010    Global Highway Limited       Cyprus             $124,000
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                 Transaction      Originating Account         Country of   Amount of
Payee
                    Date                 Holder              Origination   Transaction
                   5/11/2010   Global Highway Limited        Cyprus            $25,000
                    7/8/2010   Global Highway Limited        Cyprus            $28,000
                   7/23/2010   Leviathan Advisors Limited    Cyprus            $26,500
                   8/12/2010   Leviathan Advisors Limited    Cyprus           $138,900
                    9/2/2010   Yiakora Ventures Limited      Cyprus            $31,500
                   10/6/2010   Global Highway Limited        Cyprus            $67,600
                  10/14/2010   Yiakora Ventures Limited      Cyprus           $107,600
                  10/18/2010   Leviathan Advisors Limited    Cyprus            $31,500
                  12/16/2010   Global Highway Limited        Cyprus            $46,160
                    2/7/2011   Global Highway Limited        Cyprus            $36,500
                   3/22/2011   Leviathan Advisors Limited    Cyprus            $26,800
                    4/4/2011   Leviathan Advisors Limited    Cyprus           $195,000
                    5/3/2011   Global Highway Limited        Cyprus            $95,000
                   5/16/2011   Leviathan Advisors Limited    Cyprus             $6,500
                   5/31/2011   Leviathan Advisors Limited    Cyprus            $70,000
                   6/27/2011   Leviathan Advisors Limited    Cyprus            $39,900
                   7/27/2011   Leviathan Advisors Limited    Cyprus            $95,000
                  10/24/2011   Global Highway Limited        Cyprus            $22,000
                  10/25/2011   Global Highway Limited        Cyprus             $9,300
                  11/15/2011   Global Highway Limited        Cyprus            $74,000
                  11/23/2011   Global Highway Limited        Cyprus            $22,300
                  11/29/2011   Global Highway Limited        Cyprus             $6,100
                  12/12/2011   Leviathan Advisors Limited    Cyprus            $17,800
                   1/17/2012   Global Highway Limited        Cyprus            $29,800
                   1/20/2012   Global Highway Limited        Cyprus            $42,600
                    2/9/2012   Global Highway Limited        Cyprus            $22,300
                   2/23/2012   Global Highway Limited        Cyprus            $75,000
                   2/28/2012   Global Highway Limited        Cyprus            $22,300
                   3/28/2012   Peranova                      Cyprus            $37,500
                   4/18/2012   Lucicle Consultants Limited   Cyprus            $50,000
                   5/15/2012   Lucicle Consultants Limited   Cyprus            $79,000
                    6/5/2012   Lucicle Consultants Limited   Cyprus            $45,000
                   6/19/2012   Lucicle Consultants Limited   Cyprus            $11,860
                    7/9/2012   Lucicle Consultants Limited   Cyprus            $10,800
                   7/18/2012   Lucicle Consultants Limited   Cyprus            $88,000
                    8/7/2012   Lucicle Consultants Limited   Cyprus            $48,800
                   9/27/2012   Lucicle Consultants Limited   Cyprus           $100,000
                  11/20/2012   Lucicle Consultants Limited   Cyprus           $298,000
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                 Transaction      Originating Account        Country of    Amount of
Payee
                    Date                 Holder             Origination    Transaction
                  12/20/2012   Lucicle Consultants Limited Cyprus               $55,000
                   1/29/2013   Lucicle Consultants Limited Cyprus              $149,000
                   3/12/2013   Lucicle Consultants Limited Cyprus              $375,000
                   8/29/2013   Global Endeavour Inc.        Grenadines         $200,000
                  11/13/2013   Global Endeavour Inc.        Grenadines          $75,000
                  11/26/2013   Global Endeavour Inc.        Grenadines          $80,000
                   12/6/2013   Global Endeavour Inc.        Grenadines         $130,000
                  12/12/2013   Global Endeavour Inc.        Grenadines          $90,000
                   4/22/2014   Global Endeavour Inc.        Grenadines          $56,293
                   8/18/2014   Global Endeavour Inc.        Grenadines          $34,660
                                                         Vendor A Total      $5,434,793
Vendor B           3/22/2011   Leviathan Advisors Limited Cyprus                $12,000
(Home              3/28/2011   Leviathan Advisors Limited Cyprus                $25,000
Automation,        4/27/2011   Leviathan Advisors Limited Cyprus                $12,000
Lighting, and      5/16/2011   Leviathan Advisors Limited Cyprus                $25,000
Home              11/15/2011   Global Highway Limited       Cyprus              $17,006
Entertainment     11/23/2011   Global Highway Limited       Cyprus              $11,000
Company in
                   2/28/2012   Global Highway Limited       Cyprus               $6,200
Florida)
                  10/31/2012   Lucicle Consultants Limited Cyprus              $290,000
                  12/17/2012   Lucicle Consultants Limited Cyprus              $160,600
                   1/15/2013   Lucicle Consultants Limited Cyprus              $194,000
                   1/24/2013   Lucicle Consultants Limited Cyprus                $6,300
                   2/12/2013   Lucicle Consultants Limited Cyprus               $51,600
                   2/26/2013   Lucicle Consultants Limited Cyprus              $260,000
                                                            United
                   7/15/2013   Pompolo Limited                                $175,575
                                                            Kingdom
                   11/5/2013   Global Endeavour Inc.        Grenadines          $73,000
                                                          Vendor B Total     $1,319,281
Vendor C           10/7/2008   Yiakora Ventures Limited     Cyprus              $15,750
(Antique Rug       3/17/2009   Yiakora Ventures Limited     Cyprus              $46,200
Store in           4/16/2009   Yiakora Ventures Limited     Cyprus               $7,400
Alexandria,        4/27/2009   Yiakora Ventures Limited     Cyprus              $65,000
Virginia)           5/7/2009   Yiakora Ventures Limited     Cyprus             $210,000
                   7/15/2009   Yiakora Ventures Limited     Cyprus             $200,000
                   3/31/2010   Yiakora Ventures Limited     Cyprus             $140,000
                   6/16/2010   Global Highway Limited       Cyprus             $250,000
                                                         Vendor C Total        $934,350

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                  Transaction     Originating Account       Country of     Amount of
Payee
                     Date               Holder              Origination    Transaction
Vendor D
(Related to         2/28/2012 Global Highway Limited       Cyprus             $100,000
Vendor C)
                                                          Vendor D Total      $100,000
Vendor E            11/7/2008   Yiakora Ventures Limited    Cyprus             $32,000
(Men’s Clothing      2/5/2009   Yiakora Ventures Limited    Cyprus             $22,750
Store in New        4/27/2009   Yiakora Ventures Limited    Cyprus             $13,500
York)              10/26/2009   Yiakora Ventures Limited    Cyprus             $32,500
                    3/30/2010   Yiakora Ventures Limited    Cyprus             $15,000
                    5/11/2010   Global Highway Limited      Cyprus             $39,000
                    6/28/2010   Leviathan Advisors Limited Cyprus               $5,000
                    8/12/2010   Leviathan Advisors Limited Cyprus              $32,500
                   11/17/2010   Global Highway Limited      Cyprus             $11,500
                     2/7/2011   Global Highway Limited      Cyprus             $24,000
                    3/22/2011   Leviathan Advisors Limited Cyprus              $43,600
                    3/28/2011   Leviathan Advisors Limited Cyprus              $12,000
                    4/27/2011   Leviathan Advisors Limited Cyprus               $3,000
                    6/30/2011   Global Highway Limited      Cyprus             $24,500
                    9/26/2011   Leviathan Advisors Limited Cyprus              $12,000
                    11/2/2011   Global Highway Limited      Cyprus             $26,700
                   12/12/2011   Leviathan Advisors Limited Cyprus              $46,000
                     2/9/2012   Global Highway Limited      Cyprus              $2,800
                    2/28/2012   Global Highway Limited      Cyprus             $16,000
                    3/14/2012   Lucicle Consultants Limited Cyprus              $8,000
                    4/18/2012   Lucicle Consultants Limited Cyprus             $48,550
                    5/15/2012   Lucicle Consultants Limited Cyprus              $7,000
                    6/19/2012   Lucicle Consultants Limited Cyprus             $21,600
                     8/7/2012   Lucicle Consultants Limited Cyprus             $15,500
                   11/20/2012   Lucicle Consultants Limited Cyprus             $10,900
                   12/20/2012   Lucicle Consultants Limited Cyprus              $7,500
                    1/15/2013   Lucicle Consultants Limited Cyprus             $37,000
                    2/12/2013   Lucicle Consultants Limited Cyprus              $7,000
                    2/26/2013   Lucicle Consultants Limited Cyprus             $39,000
                     9/3/2013   Global Endeavour Inc.       Grenadines         $81,500
                   10/15/2013   Global Endeavour Inc.       Grenadines         $53,000
                   11/26/2013   Global Endeavour Inc.       Grenadines         $13,200
                    4/24/2014   Global Endeavour Inc.       Grenadines         $26,680
                    9/11/2014   Global Endeavour Inc.       Grenadines         $58,435
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                     Transaction      Originating Account        Country of    Amount of
Payee
                        Date                Holder              Origination    Transaction
                                                              Vendor E Total      $849,215
Vendor F               4/27/2009   Yiakora Ventures Limited     Cyprus             $34,000
(Landscaper in         5/12/2009   Yiakora Ventures Limited     Cyprus             $45,700
the Hamptons,           6/1/2009   Yiakora Ventures Limited     Cyprus             $21,500
New York)              6/18/2009   Yiakora Ventures Limited     Cyprus             $29,000
                       9/21/2009   Yiakora Ventures Limited     Cyprus             $21,800
                       5/11/2010   Global Highway Limited       Cyprus             $44,000
                       6/28/2010   Leviathan Advisors Limited Cyprus               $50,000
                       7/23/2010   Leviathan Advisors Limited Cyprus               $19,000
                        9/2/2010   Yiakora Ventures Limited     Cyprus             $21,000
                       10/6/2010   Global Highway Limited       Cyprus             $57,700
                      10/18/2010   Leviathan Advisors Limited Cyprus               $26,000
                      12/16/2010   Global Highway Limited       Cyprus             $20,000
                       3/22/2011   Leviathan Advisors Limited Cyprus               $50,000
                        5/3/2011   Global Highway Limited       Cyprus             $40,000
                        6/1/2011   Leviathan Advisors Limited Cyprus               $44,000
                       7/27/2011   Leviathan Advisors Limited Cyprus               $27,000
                       8/16/2011   Leviathan Advisors Limited Cyprus               $13,450
                       9/19/2011   Leviathan Advisors Limited Cyprus               $12,000
                      10/24/2011   Global Highway Limited       Cyprus             $42,000
                       11/2/2011   Global Highway Limited       Cyprus             $37,350
                                                              Vendor F Total      $655,500
Vendor G                9/2/2010   Yiakora Ventures Limited     Cyprus            $165,000
(Antique Dealer       10/18/2010   Leviathan Advisors Limited Cyprus              $165,000
in New York)           2/28/2012   Global Highway Limited       Cyprus            $190,600
                       3/14/2012   Lucicle Consultants Limited Cyprus              $75,000
                       2/26/2013   Lucicle Consultants Limited Cyprus              $28,310
                                                             Vendor G Total       $623,910
Vendor H               6/25/2008   LOAV Advisors Limited        Cyprus             $52,000
(Clothing Store in    12/16/2008   Yiakora Ventures Limited     Cyprus             $49,000
Beverly Hills,        12/22/2008   Yiakora Ventures Limited     Cyprus             $10,260
California)            8/12/2009   Yiakora Ventures Limited     Cyprus             $76,400
                       5/11/2010   Global Highway Limited       Cyprus             $85,000
                      11/17/2010   Global Highway Limited       Cyprus            $128,280
                       5/31/2011   Leviathan Advisors Limited Cyprus               $64,000
                      11/15/2011   Global Highway Limited       Cyprus             $48,000
                      12/17/2012   Lucicle Consultants Limited Cyprus               $7,500
                                                             Vendor H Total       $520,440
                                             11
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                    Transaction      Originating Account      Country of      Amount of
Payee
                       Date                Holder             Origination     Transaction
Vendor I
(Investment            9/3/2013 Global Endeavour Inc.         Grenadines         $500,000
Company)
                                                             Vendor I Total      $500,000
Vendor J             11/15/2011   Global Highway Limited       Cyprus              $8,000
(Contractor in        12/5/2011   Leviathan Advisors Limited Cyprus               $11,237
Florida)             12/21/2011   Black Sea View Limited       Cyprus             $20,000
                       2/9/2012   Global Highway Limited       Cyprus             $51,000
                      5/17/2012   Lucicle Consultants Limited Cyprus              $68,000
                      6/19/2012   Lucicle Consultants Limited Cyprus              $60,000
                      7/18/2012   Lucicle Consultants Limited Cyprus              $32,250
                      9/19/2012   Lucicle Consultants Limited Cyprus             $112,000
                     11/30/2012   Lucicle Consultants Limited Cyprus              $39,700
                       1/9/2013   Lucicle Consultants Limited Cyprus              $25,600
                      2/28/2013   Lucicle Consultants Limited Cyprus               $4,700
                                                             Vendor J Total      $432,487
Vendor K              12/5/2011   Leviathan Advisors Limited Cyprus                $4,115
(Landscaper in         3/1/2012   Global Highway Limited       Cyprus             $50,000
the Hamptons,          6/6/2012   Lucicle Consultants Limited Cyprus              $47,800
New York)             6/25/2012   Lucicle Consultants Limited Cyprus              $17,900
                      6/27/2012   Lucicle Consultants Limited Cyprus              $18,900
                      2/12/2013   Lucicle Consultants Limited Cyprus               $3,300
                                                               United
                      7/15/2013   Pompolo Limited                                 $13,325
                                                               Kingdom
                     11/26/2013   Global Endeavour Inc.        Grenadines          $9,400
                                                            Vendor K Total       $164,740
Vendor L              4/12/2012   Lucicle Consultants Limited Cyprus              $83,525
(Payments              5/2/2012   Lucicle Consultants Limited Cyprus              $12,525
Relating to Three
Range Rovers)         6/29/2012 Lucicle Consultants Limited Cyprus                $67,655
                                                             Vendor L Total      $163,705
Vendor M             11/20/2012   Lucicle Consultants Limited Cyprus              $45,000
(Contractor in        12/7/2012   Lucicle Consultants Limited Cyprus              $21,000
Virginia)            12/17/2012   Lucicle Consultants Limited Cyprus              $21,000
                      1/17/2013   Lucicle Consultants Limited Cyprus              $18,750
                      1/29/2013   Lucicle Consultants Limited Cyprus               $9,400
                      2/12/2013   Lucicle Consultants Limited Cyprus              $10,500

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                   Transaction      Originating Account         Country of   Amount of
Payee
                      Date                Holder               Origination   Transaction
                                                            Vendor M Total      $125,650
Vendor N             1/29/2009   Yiakora Ventures Limited      Cyprus            $10,000
(Audio, Video,       3/17/2009   Yiakora Ventures Limited      Cyprus            $21,725
and Control          4/16/2009   Yiakora Ventures Limited      Cyprus            $24,650
System Home          12/2/2009   Global Highway Limited        Cyprus            $10,000
Integration and       3/8/2010   Global Highway Limited        Cyprus            $20,300
Installation         4/23/2010   Yiakora Ventures Limited      Cyprus             $8,500
Company in the
Hamptons, New
                     7/29/2010 Leviathan Advisors Limited     Cyprus             $17,650
York)

                                                            Vendor N Total      $112,825
Vendor O
(Purchase of
                     10/5/2012 Lucicle Consultants Limited Cyprus                $62,750
Mercedes Benz)

                                                            Vendor O Total       $62,750
Vendor P
(Purchase of        12/30/2008 Yiakora Ventures Limited       Cyprus             $47,000
Range Rover)
                                                           Vendor P Total        $47,000
Vendor Q              9/2/2010   Yiakora Ventures Limited    Cyprus              $10,000
(Property            10/6/2010   Global Highway Limited      Cyprus              $10,000
Management          10/18/2010   Leviathan Advisors Limited Cyprus               $10,000
Company in            2/8/2011   Global Highway Limited      Cyprus              $13,500
South Carolina)
                      2/9/2012 Global Highway Limited         Cyprus              $2,500
                                                            Vendor Q Total       $46,000
Vendor R              2/9/2011 Global Highway Limited         Cyprus             $17,900
(Art Gallery in
Florida)             2/14/2013 Lucicle Consultants Limited Cyprus                $14,000

                                                         Vendor R Total          $31,900
Vendor S             9/26/2011 Leviathan Advisors Limited Cyprus                  $5,000
(Housekeeping in     9/19/2012 Lucicle Consultants Limited Cyprus                 $5,000
New York)
                     10/9/2013 Global Endeavour Inc.          Grenadines         $10,000

                                                            Vendor S Total       $20,000



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16.   In 2012, MANAFORT caused the following wires to be sent to the entities listed below to

purchase the real estate also listed below. MANAFORT did not report the money used to make

these purchases on his 2012 tax return.


 Property                                            Originating      Country of
                     Payee          Date                                               Amount
 Purchased                                            Account         Origination
 Howard Street DMP
 Condominium International    2/1/2012 Peranova                       Cyprus             $1,500,000
 (New York)    LLC
               Attorney                Actinet Trading
 Union Street               11/29/2012                                Cyprus             $1,800,000
               Account Of              Limited
 Brownstone,
               [Real Estate            Actinet Trading
 (New York)                 11/29/2012                                Cyprus             $1,200,000
               Attorney]               Limited
 Arlington
               Real Estate             Lucicle Consultants
 House                       8/31/2012                                Cyprus             $1,900,000
               Trust                   Limited
 (Virginia)
 Total                                                                                   $6,400,000


17.   MANAFORT also disguised, as purported “loans,” more than $10 million from Cypriot

entities, including the overseas MANAFORT entities, to domestic entities owned by

MANAFORT. For example, a $1.5 million wire from Peranova to DMI that MANAFORT used

to purchase real estate on Howard Street in Manhattan, New York, was recorded as a “loan” from

Peranova to DMI, rather than as income. The following loans were shams designed to reduce

fraudulently MANAFORT’s reported taxable income.


  Year        Payor / Ostensible            Payee / Ostensible     Country of    Total Amount
                 “Lender”                      “Borrower”          Origination    of “Loans”
                                          Jesand Investment
  2008     Yiakora Ventures Limited                                Cyprus           $8,120,000
                                          Corporation
  2008     Yiakora Ventures Limited       DMP                      Cyprus             $500,000
  2009     Yiakora Ventures Limited       DMP                      Cyprus             $694,000
  2009     Yiakora Ventures Limited       Daisy Manafort, LLC      Cyprus             $500,000
  2012     Peranova                       DMI                      Cyprus           $1,500,000

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  Year        Payor / Ostensible         Payee / Ostensible      Country of      Total Amount
                  “Lender”                  “Borrower”           Origination      of “Loans”
  2014     Telmar Investments Ltd.      DMI                      Cyprus                $900,000
  2015     Telmar Investments Ltd.      DMI                      Cyprus              $1,000,000
 Total                                                                             $13,214,000


18.   From 2010 to 2014, Gates caused the following wires, totaling more than $3,000,000, to be

sent to entities and bank accounts of which he was a beneficial owner or he otherwise controlled.


                    Transaction       Originating Account          Country of      Amount of
      Payee
                       Date                 Holder                 Origination     Transaction
Richard Gates         3/26/2010    Serangon Holdings Limited      Cyprus               $85,000
United Kingdom        4/20/2010    Serangon Holdings Limited      Cyprus               $50,000
Bank Account A         5/6/2010    Serangon Holdings Limited      Cyprus              $150,000
Richard Gates          9/7/2010    Serangon Holdings Limited      Cyprus              $160,000
United Kingdom
                     10/13/2010 Serangon Holdings Limited         Cyprus                 $15,000
Bank Account B
Richard Gates
United States         9/27/2010 Global Highway Limited            Cyprus                 $50,000
Bank Account C
                                                          2010 Tax Year Total          $510,000
Jemina LLC
United States           9/9/2011 Peranova                         Cyprus                 $48,500
Bank Account D
Richard Gates
United Kingdom       12/16/2011 Peranova                          Cyprus               $100,435
Bank Account B
                                                          2011 Tax Year Total          $148,935
Richard Gates          1/9/2012    Global Highway Limited       Cyprus                 $100,000
United Kingdom        1/13/2012    Peranova                     Cyprus                 $100,435
Bank Account B        2/29/2012    Global Highway Limited       Cyprus                  $28,500
                      3/27/2012    Bletilla Ventures Limited    Cyprus                  $18,745
                      4/26/2012    Bletilla Ventures Limited    Cyprus                  $26,455
                      5/30/2012    Bletilla Ventures Limited    Cyprus                  $15,000
                      5/30/2012    Lucicle Consultants Limited Cyprus                   $14,650
                      6/27/2012    Bletilla Ventures Limited    Cyprus                  $18,745
                       8/2/2012    Bletilla Ventures Limited    Cyprus                  $28,745
                      8/30/2012    Bletilla Ventures Limited    Cyprus                  $38,745
                      9/27/2012    Bletilla Ventures Limited    Cyprus                  $32,345
                     10/31/2012    Bletilla Ventures Limited    Cyprus                  $46,332
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                    Transaction        Originating Account        Country of             Amount of
      Payee
                       Date                    Holder             Origination            Transaction
                     11/20/2012     Bletilla Ventures Limited    Cyprus                      $48,547
                     11/30/2012     Bletilla Ventures Limited    Cyprus                      $38,532
                     12/21/2012     Bletilla Ventures Limited    Cyprus                      $47,836
                     12/28/2012     Bletilla Ventures Limited    Cyprus                      $47,836
                                                           2012 Tax Year Total              $651,448
Richard Gates          1/11/2013    Bletilla Ventures Limited    Cyprus                      $47,836
United Kingdom         1/22/2013    Bletilla Ventures Limited    Cyprus                      $34,783
Bank Account B         1/30/2013    Bletilla Ventures Limited    Cyprus                      $46,583
                       2/22/2013    Bletilla Ventures Limited    Cyprus                      $46,233
                       2/28/2013    Bletilla Ventures Limited    Cyprus                      $46,583
                        3/1/2013    Bletilla Ventures Limited    Cyprus                      $42,433
                       3/15/2013    Bletilla Ventures Limited    Cyprus                      $37,834
                       4/15/2013    Bletilla Ventures Limited    Cyprus                      $59,735
                       4/26/2013    Bletilla Ventures Limited    Cyprus                      $48,802
                       5/17/2013    Olivenia Trading Limited     Cyprus                      $57,798
                       5/30/2013    Actinet Trading Limited      Cyprus                      $45,622
                       6/13/2013    Lucicle Consultants Limited Cyprus                       $76,343
                                                                 United
                        8/7/2013    Pompolo Limited                                          $250,784
                                                                 Kingdom
                        9/6/2013    Lucicle Consultants Limited Cyprus                        $68,500
                       9/13/2013    Cypriot Agent                Cyprus                      $179,216
Jemina LLC              7/8/2013    Marziola Holdings Limited Cyprus                          $72,500
United States           9/4/2013    Marziola Holdings Limited Cyprus                          $89,807
Bank Account D        10/22/2013    Cypriot Agent                Cyprus                      $119,844
                      11/12/2013    Cypriot Agent                Cyprus                       $80,000
                      12/20/2013    Cypriot Agent                Cyprus                       $90,000
                                                           2013 Tax Year Total             $1,541,237
Jemina LLC             2/10/2014    Cypriot Agent                Cyprus                       $60,044
United States          4/29/2014    Cypriot Agent                Cyprus                       $44,068
Bank Account D         10/6/2014    Global Endeavour Inc.        Grenadines                   $65,000
Bade LLC
United States         11/25/2014 Global Endeavour Inc.                Grenadines             $120,000
Bank Account E
                                                              2014 Tax Year Total            $289,112


MANAFORT And Gates’ Hiding Ukraine Lobbying And Public Relations Work

19.   It is illegal to act as an agent of a foreign principal engaged in certain United States influence

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activities without registering the affiliation. Specifically, a person who engages in lobbying or

public relations work in the United States (hereafter collectively referred to as lobbying) for a

foreign principal, such as the Government of Ukraine or the Party of Regions, is required to provide

a detailed written registration statement to the United States Department of Justice. The filing,

made under oath, must disclose the name of the foreign principal, the financial payments to the

lobbyist, and the measures undertaken for the foreign principal, among other information. A

person required to make such a filing must further include in all lobbying material a “conspicuous

statement” that the materials are distributed on behalf of the foreign principal, among other things.

The filing thus permits public awareness and evaluation of the activities of a lobbyist who acts as

an agent of a foreign power or foreign political party in the United States.

20.   In furtherance of the scheme, from 2006 until 2014, both dates being approximate and

inclusive, MANAFORT, with the assistance of Gates and others, engaged in a multi-million dollar

lobbying campaign in the United States at the direction of Yanukovych, the Party of Regions, and

the Government of Ukraine.        MANAFORT did so without registering and providing the

disclosures required by law.

21.   As one part of the scheme, in February 2012, MANAFORT, with the assistance of Gates,

solicited two Washington, D.C., firms (Company A and Company B) to lobby in the United States

on behalf of Yanukovych, the Party of Regions, and the Government of Ukraine. For instance,

Gates wrote to Company A that it would be “representing the Government of Ukraine in

[Washington,] DC.”

22.   MANAFORT repeatedly communicated in person and in writing with Yanukovych, and

Gates passed on directions to Company A and Company B. For instance, MANAFORT wrote

Yanukovych a memorandum dated April 8, 2012, in which he provided Yanukovych an update on

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the lobbying firms’ activities “since the inception of the project a few weeks ago. It is my intention

to provide you with a weekly update moving forward.” Toward the end of that first year, in

November 2012, Gates wrote to Company A and Company B that the firms needed to prepare an

assessment of their past and prospective lobbying efforts so the “President” could be briefed by

“Paul” “on what Ukraine has done well and what it can do better as we move into 2013.”

23.   At the direction of MANAFORT and Gates, Company A and Company B engaged in

extensive lobbying. Among other things, they lobbied multiple Members of Congress and their

staffs about Ukraine sanctions, the validity of Ukraine elections, and the propriety of

Yanukovych’s imprisoning his presidential rival, Yulia Tymoshenko. In addition, with the

assistance of Company A, MANAFORT directly lobbied a Member of Congress who had Ukraine

within his subcommittee’s purview, and reported in writing that lobbying effort to senior

Government of Ukraine leadership.

24.   To minimize public disclosure of their lobbying campaign and distance their work from the

Government of Ukraine, MANAFORT, Gates, and others arranged for the Centre to be the nominal

client of Company A and Company B, even though in fact the Centre was under the ultimate

direction of the Government of Ukraine, Yanukovych, and the Party of Regions. For instance,

MANAFORT and Gates selected Company A and Company B, and only thereafter did the Centre

sign contracts with the lobbying firms without ever meeting either company. Company A and

Company B were paid for their services not by their nominal client, the Centre, but solely through

offshore accounts associated with the MANAFORT entities, namely Bletilla Ventures Limited (in

Cyprus) and Jeunet Ltd. and Global Endeavour Inc. (in Grenadines). In total, Company A and

Company B were paid more than $2 million from these accounts between 2012 and 2014. Indeed,

various employees of Company A and Company B viewed the Centre as a fig leaf. As a Company

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A employee noted to another employee: Gates was lobbying for the Centre “in name only.

[Y]ou’ve gotta see through the nonsense of that[.]”

25.   Neither Company A nor Company B registered as required with the United States

Department of Justice. In order to avoid such registration, Gates provided the companies a false

and misleading signed statement from the Centre, stating that it was not “directly or indirectly

supervised, directed, controlled, financed, or subsidized in whole or in part by a government of a

foreign country or a foreign political party.” In fact, the Centre took direction from Yanukovych

and the Party of Regions, as MANAFORT and Gates knew.

26.   To conceal the scheme, MANAFORT and Gates developed a false and misleading cover

story that would distance themselves and the Government of Ukraine, Yanukovych, and the Party

of Regions from the Centre, Company A, and Company B. For instance, in the wake of extensive

press reports on MANAFORT and his connections with Ukraine, on August 16, 2016, Gates

communicated false and misleading talking points to Company B in writing, including:

           •   Q: “Can you describe your initial contact with [Company B] and the lobbying goals

               he discussed with them?” A: “We provided an introduction between the [Centre]

               and [Company B/Company A] in 2012. The [Centre] was seeking to retain

               representation in Washington, DC to support the mission of the NGO.”

           •   A: “Our [MANAFORT and Gates’] task was to assist the [Centre to] find

               representation in Washington, but at no time did our firm or members provide any

               direct lobbying support.”

           •   A: “The structure of the arrangement between the [Centre] and [Company A /

               Company B] was worked out by the two parties.”

           •   Q: “Can you say where the funding from for [sic] the [Centre] came from? (this
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                amounted to well over a million dollars between 2012 and 2014).” A: “This is a

                question better asked of the [Centre] who contracted with the two firms.”

            •   Q: “Can you describe the lobbying work specifically undertaken by [Company B]

                on behalf of the Party of Regions/the [Centre]?” A: “This is a question better asked

                to [Company B] and/or the [Centre] as the agreement was between the parties. Our

                firm did not play a role in the structure, nor were we registered lobbyists.”

Company B through a principal replied to Gates the same day that “there’s a lot of email traffic

that has you much more involved than this suggests[.] We will not disclose that but heaven knows

what former employees of [Company B] or [Company A] might say.”

27.     In September 2016, after numerous recent press reports concerning MANAFORT, the

Department of Justice informed MANAFORT, Gates, and DMI that it sought to determine whether

they had acted as agents of a foreign principal under the Foreign Agents Registration Act (FARA),

without registering. In November 2016 and February 2017, MANAFORT, Gates, and DMI caused

false and misleading letters to be submitted to the Department of Justice, which mirrored the false

cover story set out above. The letters, both of which were approved by MANAFORT and Gates

before they were submitted, represented, among other things, that:

                •   DMI’s “efforts on behalf of the Party of Regions” “did not include meetings or

                    outreach within the U.S.”;

                •   MANAFORT and Gates did not “recall meeting with or conducting outreach to

                    U.S. government officials or U.S. media outlets on behalf of the [Centre], nor

                    do they recall being party to, arranging, or facilitating any such

                    communications. Rather, it is the recollection and understanding of Messrs.

                    Gates and Manafort that such communications would have been facilitated and

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                   conducted by the [Centre’s] U.S. consultants, as directed by the [Centre]. . . .”;

               •   MANAFORT and Gates had merely served as a means of introduction of

                   Company A and Company B to the Centre and provided the Centre with a list

                   of “potential U.S.-based consultants—including [Company A] and [Company

                   B]—for the [Centre’s] reference and further consideration.”

               •   DMI “does not retain communications beyond thirty days” and as a result of

                   this policy, a “search has returned no responsive documents.” The November

                   2016 letter attached a one-page, undated document that purported to be a DMI

                   “Email Retention Policy.”

28.   In fact, MANAFORT and Gates had: selected Company A and Company B; engaged in

weekly scheduled calls and frequent e-mails with Company A and Company B to provide them

directions as to specific lobbying steps that should be taken; sought and received detailed oral and

written reports from these firms on the lobbying work they had performed; communicated with

Yanukovych to brief him on their lobbying efforts; both congratulated and reprimanded Company

A and Company B on their lobbying work; communicated directly with United States officials in

connection with this work; and paid the lobbying firms over $2 million from offshore accounts

they controlled, among other things. In addition, court-authorized searches of MANAFORT and

Gates’ DMI email accounts in 2017 and a search of MANAFORT’s Virginia residence in July

2017 revealed numerous documents, including documents related to lobbying, which were more

than thirty-days old at the time of the November 2016 letter to the Department of Justice.

29.   As a second part of the lobbying scheme, in 2012, MANAFORT, with the assistance of

Gates, on behalf of Yanukovych and the Government of Ukraine’s Ministry of Justice, retained a

United States law firm to write a report on the trial of Tymoshenko, among other things. The

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treatment of Tymoshenko was condemned by the United States and was viewed as a major hurdle

to normalization of relations with Ukraine. MANAFORT and Gates used one of their offshore

accounts to funnel $4 million to pay for the report, a fact that was not disclosed in the report or to

the public. They also retained a public relations firm (Company C) to create and implement a roll-

out plan for the report. MANAFORT and Gates again secretly used one of their offshore accounts

to pay Company C, funneling the equivalent of more than $1 million to pay for the work.

MANAFORT, Gates, and their conspirators developed detailed written lobbying plans in

connection with the dissemination of the law firm’s report, including outreach to United States

politicians and press. MANAFORT reported on the law firm’s work and the lobbying plan to

representatives of the Government of Ukraine, including President Yanukovych. For instance, a

July 27, 2012, memorandum from MANAFORT noted: “[t]his document will address the global

rollout strategy for the [law firm’s] legal report, and provide a detailed plan of action[].” The plans

included lobbying in the United States.

30.   As a third part of the lobbying scheme, in or about 2012, MANAFORT, with the assistance

of Gates, on behalf of Yanukovych and the Party of Regions, secretly retained a group of former

senior European politicians to take positions favorable to Ukraine, including by lobbying in the

United States. The plan was for the former politicians, informally called the “Hapsburg group,”

to appear to be providing their independent assessments of Government of Ukraine actions, when

in fact they were paid lobbyists for Ukraine. In 2012 and 2013, MANAFORT used at least four

offshore accounts to wire more than 2 million euros to pay the group of former politicians.

31.   MANAFORT explained in an “EYES ONLY” memorandum created in or about June 2012

that the purpose of the “SUPER VIP” effort would be to “assemble a small group of high-level

European highly influencial [sic] champions and politically credible friends who can act

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informally and without any visible relationship with the Government of Ukraine.” The group was

managed by a former European Chancellor, Foreign Politician A, in coordination with

MANAFORT. As explained by MANAFORT, a nongovernmental agency would be created to

retain this group, but it would act “at our quiet direction.” In or about 2013, Foreign Politician A

and other former politicians from the group lobbied United States Members of Congress, officials

in the Executive Branch, and their staffs in coordination with MANAFORT, Gates, Company A,

and Company B.

MANAFORT’s Hiding Foreign Bank Accounts And False Filings

32.   United States citizens who have authority over certain foreign bank accounts—whether or

not the accounts are set up in the names of nominees who act for their principals—have reporting

obligations to the United States.

33.   First, the Bank Secrecy Act and its implementing regulations require United States citizens

to report to the Treasury any financial interest in, or signatory authority over, any bank account or

other financial account held in foreign countries, for every calendar year in which the aggregate

balance of all such foreign accounts exceeds $10,000 at any point during the year. This is

commonly known as a foreign bank account report or “FBAR.” The Bank Secrecy Act requires

these reports because they have a high degree of usefulness in criminal, tax, or regulatory

investigations or proceedings. The Treasury’s Financial Crimes Enforcement Network (FinCEN)

is the custodian for FBAR filings, and FinCEN provides access to its FBAR database to law

enforcement entities, including the Federal Bureau of Investigation.          The reports filed by

individuals and businesses are used by law enforcement to identify, detect, and deter money

laundering that furthers criminal enterprise activity, tax evasion, and other unlawful activities.

34.   Second, United States citizens are also obligated to report information to the IRS regarding

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foreign bank accounts. For instance, in 2010, Schedule B of IRS Form 1040 had a “Yes” or “No”

box to record an answer to the question: “At any time during [the calendar year], did you have an

interest in or a signature or other authority over a financial account in a foreign country, such as a

bank account, securities account, or other financial account?” If the answer was “Yes,” then the

form required the taxpayer to enter the name of the foreign country in which the financial account

was located.

35.   For each year in or about and between 2008 through at least 2014, MANAFORT had

authority over foreign accounts that required an FBAR filing. Specifically, MANAFORT was

required to report to the Treasury each foreign bank account held by the foreign MANAFORT

entities noted above in paragraph 11 that bears the initials PM. No FBAR reports were made by

MANAFORT for these accounts.

36.   In each of MANAFORT’s tax filings for 2008 through 2014, MANAFORT, with the

assistance of Gates, represented falsely that he did not have authority over any foreign bank

accounts.      MANAFORT and Gates had repeatedly and falsely represented in writing to

MANAFORT’s tax preparer that MANAFORT had no authority over foreign bank accounts,

knowing that such false representations would result in false tax filings in MANAFORT’s name.

For instance, on October 4, 2011, MANAFORT’s tax preparer asked MANAFORT in writing: “At

any time during 2010, did you [or your wife or children] have an interest in or a signature or other

authority over a financial account in a foreign country, such as a bank account, securities account

or other financial account?”       On the same day, MANAFORT falsely responded “NO.”

MANAFORT responded the same way as recently as October 3, 2016, when MANAFORT’s tax

preparer again emailed the question in connection with the preparation of MANAFORT’s tax



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returns: “Foreign bank accounts etc.?” MANAFORT responded on or about the same day:

“NONE.”

                                      Statutory Allegations

                                        COUNT ONE
                            (Conspiracy Against The United States)

37.   Paragraphs 1 through 36 are incorporated here.

38.   From in or about and between 2006 and 2017, both dates being approximate and inclusive,

in the District of Columbia and elsewhere, the defendant PAUL J. MANAFORT, JR., together

with others, knowingly and intentionally conspired to defraud the United States by impeding,

impairing, obstructing, and defeating the lawful governmental functions of a government agency,

namely the Department of Justice and the Treasury, and to commit offenses against the United

States, to wit: the violations of law charged in Counts Three, Four, and Five, and to unlawfully,

willfully, and knowingly fail to file with the Treasury an FBAR disclosing a financial interest in,

and signature and other authority over, a bank, securities, and other financial account in a foreign

country, which had an aggregate value of more than $10,000 in a 12-month period, in violation of

31 U.S.C. §§ 5314 and 5322(a).

39.   In furtherance of the conspiracy and to effect its illegal object, MANAFORT and his

conspirators committed the overt acts noted in Count Four and the overt acts, among others, in the

District of Columbia and elsewhere, set forth in paragraphs 8–11,14–18, 20–31, and 35–36, which

are incorporated herein.

                               (18 U.S.C. §§ 371 and 3551 et seq.)




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                                       COUNT TWO
                               (Conspiracy To Launder Money)

40.   Paragraphs 1 through 36 are incorporated here.

41.   In or around and between 2006 and 2016, both dates being approximate and inclusive,

within the District of Columbia and elsewhere, the defendant PAUL J. MANAFORT, JR., together

with others, did knowingly and intentionally conspire to:

       (a) transport, transmit, and transfer monetary instruments and funds from places outside

       the United States to and through places in the United States and from places in the United

       States to and through places outside the United States, with the intent to promote the

       carrying on of specified unlawful activity, to wit: a felony violation of FARA, in violation

       of Title 22, United States Code, Sections 612 and 618 (the “Specified Unlawful Activity”),

       contrary to Title 18, United States Code, Section 1956(a)(2)(A); and

       (b) conduct financial transactions, affecting interstate and foreign commerce, knowing that

       the property involved in the financial transactions would represent the proceeds of some

       form of unlawful activity, and the transactions in fact would involve the proceeds of the

       Specified Unlawful Activity, knowing that such financial transactions were designed in

       whole and in part (i) to engage in conduct constituting a violation of sections 7201 and

       7206 of the Internal Revenue Code of 1986, and (ii) to conceal and disguise the nature,

       location, source, ownership, and control of the proceeds of the Specified Unlawful

       Activity, contrary to Title 18, United States Code, Section 1956(a)(1)(A)(ii) and

       1956(a)(1)(B)(i).

                            (18 U.S.C. §§ 1956(h) and 3551 et seq.)




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                                      COUNT THREE
                         (Unregistered Agent Of A Foreign Principal)

42.   Paragraphs 1 through 36 are incorporated here.

43.   From in or about and between 2008 and 2014, both dates being approximate and inclusive,

within the District of Columbia and elsewhere, the defendant PAUL J. MANAFORT, JR.,

knowingly and willfully acted as an agent of a foreign principal, and caused and aided and abetted

Companies A, B, and C, and others, including former senior foreign politicians, to act as agents of

a foreign principal, to wit, the Government of Ukraine, the Party of Regions, and Yanukovych,

without registering with the Attorney General as required by law.

               (22 U.S.C. §§ 612 and 618(a)(1); 18 U.S.C. §§ 2 and 3551 et seq.)

                                       COUNT FOUR
                           (False and Misleading FARA Statements)

44.   Paragraphs 1 through 36 are incorporated here.

45.   On or about November 23, 2016, and February 10, 2017, within the District of Columbia

and elsewhere, the defendant PAUL J. MANAFORT, JR., knowingly and willfully caused to be

made a false statement of a material fact, and omitted a material fact necessary to make the

statements therein not misleading, in a document filed with and furnished to the Attorney General

under the provisions of FARA, to wit, the underlined statements:

           •   “[DMI]’s efforts on behalf of the Party of Regions and Opposition Bloc did not

               include meetings or outreach within the U.S.”

           •   “[N]either [DMI] nor Messrs. Manafort or Gates had any agreement with the

               [Centre] to provide services.”

           •   “[DMI] did provide the [Centre], at the request of members of the Party of Regions,

               with a list of potential U.S.-based consultants—including [Company A and
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              Company B]—for the [Centre]’s reference and further consideration. [The Centre]

              then contracted directly with [Company A and Company B] to provide services

              within the United States for which these entities registered under the Lobbying

              Disclosure Act.”

          •   “Although Gates recalls interacting with [the Centre]’s consultants regarding

              efforts in the Ukraine and Europe, neither Gates nor Mr. Manafort recall meeting

              with or conducting outreach to U.S. government officials or U.S. media outlets on

              behalf of the [the Centre], nor do they recall being party to, arranging, or facilitating

              any such communications. Rather, it is the recollection and understanding of

              Messrs. Gates and Manafort that such communications would have been facilitated

              and conducted by the [Centre]’s U.S. consultants, as directed by the [Centre],

              pursuant to the agreement reached between those parties (to which [DMI] was not

              a party).”

          •   “[A] search has been conducted for correspondence containing additional

              information related to the matters described in [the government’s] Letters.

              However, as a result of [DMI’s] Email Retention Policy, which does not retain

              communications beyond thirty days, the search has returned no responsive

              communications.”

              (22 U.S.C. §§ 612 and 618(a)(2); 18 U.S.C. §§ 2 and 3551 et seq.)

                                         COUNT FIVE
                                       (False Statements)

46.   Paragraphs 1 through 36 and paragraph 45 are incorporated here.

47.   On or about November 23, 2016, and February 10, 2017, within the District of Columbia

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and elsewhere, in a matter within the jurisdiction of the executive branch of the Government of

the United States, the defendant PAUL J. MANAFORT, JR., knowingly and willfully did cause

another: to falsify, conceal, and cover up by a scheme and device a material fact; to make a

materially false, fictitious, and fraudulent statement and representation; and to make and use a

false writing and document knowing the same to contain a materially false, fictitious, and

fraudulent statement, to wit, the statements in the November 23, 2016, and February 10, 2017,

submissions to the Department of Justice quoted in paragraph 45.

                            (18 U.S.C. §§ 2, 1001(a), and 3551 et seq.)

                                 FORFEITURE ALLEGATION

48.   Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendant that the United

States will seek forfeiture as part of any sentence in accordance with Title 18, United States Code,

Sections 981(a)(1)(C) and 982(a)(1), and Title 28, United States Code, Section 2461(c), in the

event of the defendant’s conviction. Upon conviction of the offense charged in Count Two, the

defendant PAUL J. MANAFORT, JR., shall forfeit to the United States any property, real or

personal, involved in such offense, and any property traceable to such property. Upon conviction

of the offenses charged in Counts One, Three, and Four, the defendant PAUL J. MANAFORT,

JR., shall forfeit to the United States any property, real or personal, which constitutes or is derived

from proceeds traceable to the offense(s) of conviction. Notice is further given that, upon

conviction, the United States intends to seek a judgment against the defendant for a sum of money

representing the property described in this paragraph (to be offset by the forfeiture of any specific

property).

49.   The grand jury finds probable cause to believe that the property subject to forfeiture by

PAUL J. MANAFORT, JR., includes, but is not limited to, the following listed assets:
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       a.     The real property and premises commonly known as 377 Union Street, Brooklyn,

       New York 11231 (Block 429, Lot 65), including all appurtenances, improvements, and

       attachments thereon, and any property traceable thereto;

       b.     The real property and premises commonly known as 29 Howard Street, #4D, New

       York, New York 10013 (Block 209, Lot 1104), including all appurtenances, improvements,

       and attachments thereon, and any property traceable thereto;

       c.      The real property and premises commonly known as 1046 N. Edgewood Street,

       Arlington, Virginia 22201, including all appurtenances, improvements, and attachments

       thereon, and any property traceable thereto;

       d.     The real property and premises commonly known as 174 Jobs Lane, Water Mill,

       New York 11976, including all appurtenances, improvements, and attachments thereon,

       and any property traceable thereto;

       e.     Northwestern Mutual Universal Life Insurance Policy 18268327, and any property

       traceable thereto;

       f.     All funds held in account number XXXX7988 at Charles A. Schwab & Co. Inc.,

       and any property traceable thereto; and

       g.     All funds held in account number XXXXXX0969 at The Federal Savings Bank,

       and any property traceable thereto.

                                             Substitute Assets

50.   If any of the property described above as being subject to forfeiture, as a result of any act or

omission of the defendant

              a.      cannot be located upon the exercise of due diligence;

              b.      has been transferred or sold to, or deposited with, a third party;

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               c.      has been placed beyond the jurisdiction of the court;

               d.      has been substantially diminished in value; or

               e.      has been commingled with other property that cannot be subdivided without

                       difficulty;

it is the intent of the United States of America, pursuant to Title 18, United States Code, Section

982(b) and Title 28, United States Code, Section 246l(c), incorporating Title 21, United States

Code, Section 853 , to seek forfeiture of any other property of said defendant.




                                                      Rt:a:tf:£L ~
                                                      Special Counsel
                                                      Department of Justice


A TRUE BILL:




Foreperson

Date: February 23, 2018




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